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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 JUSTIN PERKEY,                                   )
                                                  )
                        Plaintiff,                )
                                                  )   Case No. 1:21-cv-00589-RGA
        v.                                        )
                                                  )
 HOUSTON WIRE & CABLE COMPANY,                    )
 G. GARY YETMAN, JAMES L. POKLUDA                 )
 III, ROY W. HALEY, MARGARET S.                   )
 LAIRD, WILLIAM H. SHEFFIELD,                     )
 SANDFORD W. ROTHE, and DAVID                     )
 NIERENBERG                                       )
                                                  )
                        Defendants.               )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: July 29, 2021                                 RIGRODSKY LAW, P.A.

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